Form ordshap (Revised 05/2018)


                                   United States Bankruptcy Court − District of Kansas
                                            161 Robert J. Dole US Courthouse
                                                    500 State Avenue
                                                  Kansas City, KS 66101

In Re:                                                      Case No.: 20−20219
                                                            Chapter: 7
Pinnacle Regional Hospital, Inc.
Debtor


Overcash v. Covidien LP                                     Adv. Proc. No. 22−06013


                                                                                               Filed And Entered By
                                                                                                     The Court
                                              ORDER TO SHOW CAUSE                                   9/16/22
                                                                                                David D. Zimmerman
                                                                                                   Clerk of Court
                                                                                                US Bankruptcy Court


This proceeding is before the Court sua sponte. On February 11, 2022, Plaintiff(s) filed a Complaint against Covidien
LP. Plaintiff(s) served the Defendant(s) on February 15, 2022, but not withstanding this service of summons, the
Court file reflects no further activity by or against the Defendant(s).

Plaintiff(s) is/are hereby directed to show cause by written response on or before October 3, 2022, why the Complaint
against said Defendant(s) should not be dismissed for lack of prosecution. If a hearing is desired, it should be
requested in the response.

A Motion for Entry of Default, or some other substantive pleading on the merits, that is filed on or before October 3,
2022, will satisfy this show cause order. If no timely written response is filed, and no other action is taken that
satisfies the Court that the case is being prosecuted against the Defendant(s), the Court will enter a final order
dismissing the Complaint against the Defendant(s) for lack of prosecution without further notice.
IT IS SO ORDERED.


                                                            s/ Dale L. Somers
                                                            United States Bankruptcy Judge




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